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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

STEPHEN DENINNO & MARY DENINNO                      )
              Plaintiffs                            )
                                                      )            CIVIL ACTION NO.:
v.                                                  )              3:22-CV-00580-RNC
                                                      )
NORTH COAST SEA-FOODS CORP. d/b/a                   )
NORTH COAST SEAFOODS and BIG Y                      )
FOODS, INC.                                         )
               Defendants                           )
                                                    )


                             UPDATED JOINT STATUS REPORT

       The Parties submit this Joint Status Report pursuant to the Court’s Order dated June 13,

2022 and Notice.

     A. THE STATUS OF THE CASE

       The case is in its discovery phase. There are no pending motions at this time. The Parties

have complied with the initial disclosure requirements under Fed. R. Civ. P. 26(a)(1).

Defendants served written discovery on Plaintiffs which Plaintiffs have responded to. Defendant

North Coast Seafood has responded to written discovery and Big Y anticipates filing written

discovery responses by September 15, 2023. Five depositions have been or will be noticed for

September and October 2023.

       The parties are also cooperating in obtaining additional medical records that plaintiffs’

extensive and ongoing treatment, including recent multiple hospitalizations for a severe allergic

reaction this year to one of his treatment medications.

       Discovery closes on December 13, 2023.
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        While the parties anticipate continued cooperation in regard to resolving discovery

disputes, the parties believe a Magistrate Status Conference would be advisable for early October

to check in with the Court in regard to any remaining discovery differences the parties may have.

   B. SETTLEMENT REFERAL

        The Parties are not interested in a referral for settlement purposes at this time.

   C. TRIAL BEFORE A MAGISTRATE JUDGE

        The Parties are not amenable to a potential jury trial before a Magistrate Judge at this

time.

   D. ESTIMATED LENGTH OF TRIAL

        The Parties anticipate that the trial has an estimated length of 7 court days.
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Respectfully submitted,

PLAINTIFFS,                                     DEFENDANT
STEPHEN AND MARY DENINNO                        NORTH COAST SEA-FOODS CORP. d/b/a
By their attorneys:                             NORTH COAST SEAFOODS and BIG Y
                                                FOODS, INC.,
                                                By its attorneys:

/s/ Shelly L. Graves                            /s/ Kevin J. O’Leary
__________________________                      _________ _______________
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                                 CERTIFICATE OF SERVICE

        I, Kevin J. O’Leary, certify that on the 8th of September, 2023 a copy of this document
 was or will immediately be served upon all parties of record via the court’s ECF system:

 Shelley L. Graves, ct14094
 Faulkner and Graves, P.C.
 1 Montauk Avenue, Suite 301
 Norwalk, CT 06851

                                                     /s/ Kevin J. O’Leary__
                                                     Kevin J. O’Leary
